
*359OPINION.
Gkeen
: This appeal presents two questions. The first is the right of the taxpayer to take as a deduction in 1918 her half of the debt due the community. Section 21#(a) (7) of the Revenue Act of 1918 reads: “ Debts ascertained to be worthless and charged off within the taxable year.” There is no evidence before us as to when the taxpayer ascertained the debts to be worthless. The fact that debts were charged off in a particular year raises no presumption that they were in the same year “ ascertained to be worthless.”
The second question is the right of. the Commissioner, in the absence of fraud or mathematical error, to reopen, reconsider, and redetermine a case in which he has, after due consideration, determined the tax liability. Section 1006 of the Revenue Act of 1924 and section 1312 of the Revenue Act of 1921 are inapplicable in this case because there is no agreement and no assessment. The original determination of the tax, the refund, and the determination of the deficiency here under consideration were all made by the same commissioner. We express no opinion as to the right of a commissioner to review the acts of his predecessor. We know of no statute or decision which in this case in any way limits the right of the Commissioner to reopen it as often as he chooses until such time as the statute of limitations has run against him. Appeal of Dallas Brass &amp; Copper Co., 3 B. T. A. 856; Appeal of Warner Sugar Refining Co., 4 B. T. A. 5.

Judgment for the Commissioner.

